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VERIFICATION

1, Billy Peter, declare as follows:

1. am a Plaintiff in the present case and I am not a citizen of the United States of
America.

2.] have personal knowledge of myself, my activities, and my intentions ,
including those set out in the forgoing Verified Complaint for Declaratory and
Injunctive Relief, and if called on to testify, | would competently testify as to the
matters stated herein.

3. | verify under penalty of perjury under the laws of the United States of

America that the factual statements in this Verified Complaint for Declaratory and
Injunctive Relief concerning myself, my activities and my intentions are true and

correct.

Executed on November 29, 2024

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